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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------- x
 UNITED STATES OF AMERICA,                                             : COMPLAINT
                                                                       :
                    Plaintiff,                                         :
                                                                       : 19 Civ. _____
          v.                                                           :
                                                                       :
 ATLANTIC DEVELOPMENT GROUP, LLC; and                                  :
 PETER FINE,                                                           :
                                                                       :
                      Defendants.                                      :
 --------------------------------------------------------------------- x

        Plaintiff the United States of America (the “United States”) alleges as follows:

        1.      This action is brought by the United States to enforce the Fair Housing Act, as

amended by the Fair Housing Amendments Act of 1988 (the “Fair Housing Act” or the “Act”), 42

U.S.C. §§ 3601-3619.

        2.      As set forth below, the United States alleges that defendants Atlantic Development

Group LLC (“Atlantic”), the developer of at least 68 rental apartment buildings in this District —

including the rental apartment buildings at 1118 Intervale Avenue in the Bronx (“1118 Intervale”),

2087 Creston Avenue in the Bronx (“2087 Creston”), 303 Tenth Avenue in Manhattan (“303 Tenth

Avenue”), 3880 Orloff Avenue in the Bronx (“3880 Orloff”), 1926 Crotona Avenue in the Bronx

(“1926 Crotona”), 4646 Park Avenue in the Bronx (“4646 Park”), 1382 Shakespeare Avenue in the
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Bronx (“the Shakespeare”), and 25 State Street in Ossining (“25 State Street,” and, collectively with

the preceding seven rental apartment buildings, the “Sample Properties”) — and its principal Peter

Fine have unlawfully discriminated against persons with disabilities under the Fair Housing Act by

failing to design and construct these rental apartment buildings so as to be accessible to persons with

disabilities. 1

                                       JURISDICTION AND VENUE

         3.        This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345 and

42 U.S.C. § 3614(a).

         4.        Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c) because the claims

alleged in this action arose in the Southern District of New York, and concern or otherwise relate

to real property located in this District.

                                             THE DEFENDANTS

         5.        Defendant Atlantic is a New York limited liability company. Atlantic, directly or

through affiliated entities, is the owner and developer of the 68 rental apartment buildings listed

in Appendix 1 attached herein and at least two other rental apartment buildings. In these

capacities, Atlantic designed and constructed each of those rental apartment buildings.

         6.        Defendant Peter Fine, who resides in Manhattan, is the co-founder of Atlantic.

During all times relevant, Fine was the majority owner and principal of Atlantic and, in those

capacities, personally supervised the design and construction of the rental apartment buildings at


    1
       The names and addresses of the 67 rental apartment buildings that Atlantic designed and
constructed, as well as one building that is currently under construction, are set forth in Appendix 1 to
this complaint. In addition to these 68 buildings, which contain over 6,500 low-income rental units,
Atlantic has designed and constructed at least two market-rate rental apartment buildings — 33 West
End Avenue and 2 Cooper Square in Manhattan — that also have widespread inaccessible conditions.
The inaccessible features at 33 West End and 2 Cooper Square are the subject of an FHA lawsuit that
the United States filed in 2017 against Atlantic and two other parties: United States v. Atlantic
Development Group, LLC et al., 17 Civ. 332 (PAC) (S.D.N.Y.).

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issue in this action. Further, Fine has obtained substantial profits from Atlantic, including from

sales of the so-called section 421-a tax exemption certificates, resulting from Atlantic’s

development of these low-income rental properties.

  FHA’S ACCESSIBILITY REQUIREMENT FOR ATLANTIC’S RENTAL APARTMENT BUILDINGS

       7.       The 68 rental apartment buildings at issue in this action, which are listed in

Appendix 1, each contain between 10 and 221 rental units. All of these buildings were designed

and constructed by Atlantic for first occupancy after March 13, 1991.

       8.       All 68 rental apartment buildings at issue in this action have elevator access.

Each building, moreover, contains certain public and common use areas, such as, depending on

the building, laundry rooms, parking garages, fitness centers, patios, and community rooms.

       9.       The rental units at each of the 68 rental apartment buildings at issue in this action

are “dwellings” within the meaning of 42 U.S.C. § 3602(b), and “dwelling units” within the

meaning of 24 C.F.R. § 100.201.

       10.      All of the rental units in the 68 rental apartment buildings at issue in this action

are “covered multifamily dwellings” within the meaning of 42 U.S.C. § 3604(f)(7) and 24 C.F.R.

§ 100.201. And each of those buildings is subject to the accessibility requirements of 42 U.S.C.

§ 3604(f)(3)(C) and 24 C.F.R. § 100.205(a), (c).

            INACCESSIBLE FEATURES AT ATLANTIC’S RENTAL APARTMENT BUILDINGS

       A.       Buildings That Atlantic Designed and Constructed Using Architect A

       11.      From in or about 2000 until in or about 2007, Atlantic designed and constructed

29 rental apartment buildings, including 1118 Intervale, 2087 Creston, and 3880 Orloff, using a

now-defunct architecture firm based in Manhattan (“Architect A”). 2 There are inaccessible


   2
       In addition to 1118 Intervale, 2087 Creston, and 3880 Orloff, Atlantic also designed and
constructed the following 26 buildings using Architect A: 1150 Intervale Avenue, 2035
Marmion Avenue, 2333 Webster Avenue, 900 Ogden Avenue, 1314 Merriam Avenue, 678
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conditions in violation of the FHA’s accessibility requirements throughout these 29 rental

apartment buildings. As the examples below at 1118 Intervale, 2087 Creston, and 3880 Orloff

show, the inaccessible conditions include, inter alia, entrance thresholds that are excessively

high, mailboxes and other common use facilities that are located too high above the finished

floor, kitchens that are insufficiently wide, bathrooms that lack sufficient clear floor space for

maneuvering, and common use bathrooms that lack toilet grab bars and sink pipe insulation.

       12.     1118 Intervale, which Atlantic completed in 2000, contains 68 rental units, as

well as public and common use areas such as an intercom system, a mailbox area, a recreation

room, and a laundry room. 1118 Intervale is inaccessible to persons with disabilities.

Specifically, Atlantic designed and constructed, among others, the following inaccessible

features at 1118 Intervale:

               a.      The height of the threshold at the main entrance door exceeds ½ inch;

               b.      Top row of the buttons of the intercom system at the building entrance are
                       higher than 48 inches above the finished floor;

               c.      There are three rows of mailboxes higher than 54 inches above the
                       finished floor;

               d.      In more than 30 individual units, the height of the thresholds at entrances
                       to in-unit bathrooms exceeds ½ inch;

               e.      In all or nearly all individual units, kitchens are less than 40 inches wide
                       as measured between refrigerators and opposing countertops;

               f.      In more than 30 individual units, kitchens are less than 40 inches as



Sagamore Street, 1975 Birchall Avenue, 1314 Nelson Avenue, 2080 LaFontaine Avenue, 1491
Macombs Avenue, 1240 Washington Avenue, 600 Concord Avenue, 1001 University Avenue,
415 East 157th Street, 404 East 158th Street, 303 East 158th Street, 320 East 159th Street, 3000
Park Avenue, 1404 Jesup Avenue, 1401 Jesup Avenue, 675 Morris Avenue, and 1450 Jesup
Avenue in the Bronx, as well as at 400 Third Avenue, 246 East 77th Street, 417 East 76th Street,
and 438 East 76th Street in Manhattan.
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                      measured between ranges and opposing countertops;

              g.      In all or nearly all individual units, there is less than 30 by 48 inch clear
                      floor space for a parallel approach to the kitchen ranges;
              h.      In more than 30 units, there are less than 18 inches of clear space between
                      toilets and the sinks;

              i.      In all or nearly all individual units, there is less than 30 by 48 inch clear
                      floor space in bathrooms beyond the swinging doors;

              j.      In all units, kitchen electrical outlets are located more than 46 inches
                      above the finished floor;

              k.      The recreation room bathroom lacks pipe insulation for the sink and also
                      lacks a 42-inch long side grab bar for the toilet;

              l.      The card reader in the laundry room is located more than 54 inches above
                      the finished floor.

       13.    2087 Creston, which Atlantic completed in 2004, contains 92 rental units as well

as public and common use areas such as, a mailbox area, a community room, and a laundry

room. 2087 Creston is inaccessible to persons with disabilities. Specifically, Atlantic designed

and constructed, among others, the following inaccessible features at 2087 Creston:

              a.      The height of the threshold at the entrance to the community room
                      bathroom exceeds ½ inch;

              b.      There are two rows of mailboxes higher than 54 inches above the finished
                      floor;

              c.      In all or nearly all individual units, the height of the thresholds at the unit
                      entrances exceeds ½ inch;

              d.      In all or nearly all individual units, the height of the thresholds at
                      entrances to in-unit bathrooms exceeds ½ inch;

              e.      In more than 40 individual units, kitchens are less than 40 inches wide as
                      measured between refrigerators and opposing countertops;


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               f.     In all or nearly all individual units, there is less than 30 by 48 inch clear
                      floor space for a parallel approach to the kitchen ranges;

               g.     In all or nearly all individual units, there is less than 30 by 48 inch clear

                      floor space in bathrooms beyond the swinging doors;

               h.     In all or nearly all individual units, there is less than 33 inches of clear
                      space around the toilet (i.e., between the side wall and the sink);

               i.     The height of thresholds at entrances to the trash rooms exceeds ½ inch;

               j.     The community room bathroom lacks 42-inch long side grab bar or 36-
                      inch long rear grab bar for the toilet; and

               k.     The highest operable part of the refill machine in the laundry room is
                      located at more than 54 inches above the finished floor.

       14.     3880 Orloff, which Atlantic completed in 2005, contains 114 rental units as well

as public and common use areas such as a ramp to the building entrance,a mailbox area, a

parking garage, a fitness room, and a community room. 3880 Orloff is inaccessible to persons

with disabilities. Specifically, Atlantic designed and constructed, among others, the following

inaccessible features at 3880 Orloff:

               a.     There is an abrupt level change between the sidewalk and the ramp
                      leading to the building entrance that exceeds ¼ inch, and the ramp lacks
                      handrails on both sides;

               b.     There are three rows of mailboxes higher than 54 inches above the
                      finished floor;

               c.     The running slope of the parking garage ramp exceeds 8.33%;

               d.     The threshold at the entrance to the community room lounge is not
                      beveled at 1:2;

               e.     In all or nearly all individual units, the height of the thresholds at the unit
                      entrances exceeds ½ inch;



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               f.      In more than 20 individual units, there are steps on the interior and the
                       exterior sides of the in-unit patios;

               g.      In all or nearly all individual units, kitchens are less than 40 inches wide
                       as measured between ranges and opposing dishwashers;
               h.      In all or nearly all individual units, there is less than 30 by 48 inch clear
                       floor space for a parallel approach to the kitchen ranges;

               i.      In all or nearly all individual units, there is less than 30 by 48 inch clear
                       floor space in bathrooms beyond the swinging doors; and

               j.      The community room bathroom lacks grab bars for the toilet and lacks
                       pipe insulation for the sink.

       B.      Buildings That Atlantic Designed and Constructed Using Architect B

       15.     From in or about 2005 until in or about 2011, Atlantic designed and constructed

25 rental apartment buildings, including 46 Park and the Shakespeare, using a now-retired

architect whose office was in Suffern, New York (“Architect B”). 3 There are inaccessible

conditions in violation of the FHA’s accessibility requirements throughout these 25 rental

buildings. As the examples below at 4646 Park and the Shakespeare show, the inaccessible

conditions include, inter alia, entrance thresholds that are excessively high, bathrooms that lack

sufficient clear floor space for maneuvering, kitchens that are insufficiently wide, mailboxes and

other common use facilities that are located too high above the finished floor, and common use

bathrooms that lack toilet grab bars and sink pipe insulation.

       16.     4646 Park, which Atlantic completed in 2006, contains 70 rental units as well as
public and common use areas such as a mailbox area, a community room, and a laundry room.

   3
       In addition to 4646 Park and the Shakespeare, Atlantic also designed and constructed the
following 23 buildings in the Bronx using Architect B: 881 East 162 Street, 508 East 161 Street,
128 East Clark Place, 962 Aldus Street, 941 Hoe Avenue, 861 East 163rd Street, 1904 Vyse
Avenue, 1471 Louis Nine Boulevard, 33 West Tremont, 1345 Shakespeare Avenue, 270 East
Burnside Avenue, 2277 Bathgate Avenue, 1530 Jesup Avenue, 508 East 163 Street, 505 East
161st Street, 488 East 163 Street, 3213 Third Avenue, 514 East 163 Street, 80 Bruckner Blvd, 105
Willis Avenue, 507 East 161st Street, 501 East 161st Street, and 331 East 132nd Street.
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4646 Park is inaccessible to persons with disabilities. Specifically, Atlantic designed and

constructed, among others, the following inaccessible features at 4646 Park:

               a.     The thresholds at the community room entrance and at the door to the
                      community room bathroom are more than ½ inch high;

               b.     There are two rows of mail boxes higher than 54 inches above the finished
                      floor;

               c.     In nearly all individual units, the height of the thresholds at the unit
                      entrances exceeds ½ inch;

               d.     In nearly all individual units, the height of the thresholds at entrances to
                      in-unit bathrooms exceeds ½ inch;

               e.     In seven individual units, there is less than 30 by 48 inch clear floor space
                      for a parallel approach to the kitchen refrigerators

               f.     In more than 20 individual units, there is less than 30 by 48 inch clear
                      floor space in bathrooms beyond the swinging doors;

               g.     In five individual units, there is less than 18 inches of distance between the
                      toilet and the side wall;

               h.     In nearly all individual units, there is less than 30 by 48 inch clear floor
                      space in bathrooms that allows for a parallel approach to the sink;

               i.     The bathroom for the community room lacks grab bars for the toilet and
                      lacks pipe insulation for the sink; and

               j.     The highest operable part of the laundry machine in the laundry room is
                      located higher than 54 inches above the finished floor.

       17.     The Shakespeare, which Atlantic completed in 2010, contains 127 rental units as

well as public and common use areas, such as a parking garage, a patio area for residents, a

laundry room, a fitness room, and a children’s play room. The Shakespeare is inaccessible to

persons with disabilities. Specifically, Atlantic designed and constructed, among others, the

following inaccessible features at The Shakespeare:

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              a.      The maneuvering space immediately outside of the main building entrance
                      door is sloped at more than 2%;

              b.      None of the 30 spaces within the parking garage provides 98-inch vertical
                      clearance that allows parking by accessible vans;

              c.      In nearly all units, the thresholds at the unit entrances either exceed ½ inch
                      in height or lack 1:2 beveling or both;

              d.      In nearly all individual units, the height of the thresholds at entrances to
                      in-unit bathrooms exceeds ½ inch;

              e.      In more than 100 individual units, kitchens are less than 40 inches wide as
                      measured between the refrigerators and opposing ranges or islands;

              f.      In about 50 units, kitchens are less than 40 inches wide as measured
                      between the sinks and the opposing ranges or islands;

              g.      In about 50 individual units, the kitchen sinks are more than 34 inches
                      above the finished floor;

              h.      In all or nearly all individual units, there is less than 30 by 48 inch clear
                      floor space in bathrooms beyond the swinging doors;

              i.      In nearly all individual units, there is less than 30 by 48 inch clear floor
                      space in bathrooms that allows for a parallel approach to the sink;

              j.      In the first-floor common use bathroom, there is no pipe insulation for the
                      sink, and toilet grab bars are installed less than 12 inches from the rear
                      wall and less than 6 inches from the side wall, and;

              k.      The area around the door to the patio area for residents is sloped at more
                      than 2%; and

              l.      The highest operable part of the laundry room keycard reader is more than
                      54 inches above the finished floor.

       C.     Buildings That Atlantic Designed and Constructed Using Architect C

       18.    From in or about 2006 until in or about 2010, Atlantic designed and constructed

six rental apartment buildings, including 303 Tenth Avenue, using a now-defunct architectural

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firm based in Manhattan (“Architect C”). 4 There are inaccessible conditions in violation of the

FHA’s accessibility requirements throughout these six rental buildings. As the examples below

at 303 Tenth Avenue show, these inaccessible conditions include, inter alia, entrance thresholds

that are excessively high, mailboxes that are located too high above the finished floor, kitchens

that are insufficiently wide, kitchens and bathrooms that lack sufficient clear floor space for

maneuvering, and common use bathrooms that lack toilet grab bars.

       19.     303 Tenth Avenue, which Atlantic completed in 2010, contains 89 rental units as

well as public and common use areas such as a mailbox area, storage units for residents, a deck

area, and a club room. 303 Tenth Avenue is inaccessible to persons with disabilities.

Specifically, Atlantic designed and constructed, among others, the following inaccessible

features at 303 Tenth Avenue:

               a.      The height of the threshold at the entrance to the room with the storage
                       units for residents exceeds ½ inch;

               b.      There is a row of mailboxes higher than 54 inches above the finished
                       floor;

               c.      In 24 units, the height of the thresholds at entrances to in-unit bathrooms
                       exceeds ½ inch;

               d.      In more than 20 units, there is less than 30 by 48 inch clear floor space for
                       a parallel approach to the kitchen range;

               e.      In more than 20 units, there is less than 30 by 48 inch clear floor space for
                       a parallel approach to the kitchen sinks;

               f.      In more than 30 units, kitchens are less than 40 inches wide as measured
                       between refrigerators and opposing countertops;



   4
        In addition to 303 Tenth Avenue, Atlantic designed and constructed five other rental
apartment buildings in Manhattan using Architect C: 521 West 42nd Street, 1115 First Avenue,
1 East 35th Street, 250 East 60th Street, and 385 Third Avenue.
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               g.      In 12 units, there is less than 40 inches of kitchen clearance between the
                       range and dishwasher;

               h.      In 12 units, the route into the kitchen is less than 36 inches wide;

               i.      In all or nearly all units, there is less than 30 by 48 inch clear floor space
                       in bathrooms beyond the swinging doors;

               j.      In 70 units, the distance between the toilet centerline and the side wall is
                       less than 18 inches;

               k.      The club room bathroom lacks grab bars; and

               l.      The centerlines of the toilet and the sink in the deck area bathroom are less
                       than 18 inches from the side wall.

       D.      Buildings That Atlantic Designed and Constructed Using Architect D

       20.     From in or about 2007 until in or about 2012, Atlantic designed and constructed

five rental apartment buildings, including 1926 Crotona, using a now-defunct architectural firm

based in Manhattan (“Architect D”). 5 There are inaccessible conditions in violation of the

FHA’s accessibility requirements throughout these five rental buildings. As the examples below

at 1926 Crotona show, these inaccessible conditions include, inter alia, entrance thresholds that

are excessively high, kitchens that lack sufficient clear floor space for maneuvering and that are

insufficiently wide, bathrooms that lack sufficient clear floor space for maneuvering and that are

insufficiently wide, common use bathrooms that lack toilet grab bars, and mailboxes and other

common use facilities that are located too high above the finished floor.

       21.     1926 Crotona, which Atlantic completed in 2008, contains 96 rental units as well

as public and common use areas such as an intercom system at the building entrance, a mailbox

area, a laundry room, and a community room. 1926 Crotona is inaccessible to persons with


   5
       In addition to 1926 Crotona, Atlantic designed and constructed four other rental
apartment buildings in the Bronx using Architect D: 3121 Villa Avenue, 550 East 170 Street,
922 East 169th Street, and 1140 Tiffany Street.
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disabilities. Specifically, Atlantic designed and constructed, among others, the following

inaccessible features at 1926 Crotona:

              a.      More than half of the buttons of the intercom system at the building
                      entrance are higher than 48 inches above the finished floor;

              b.      The height of the threshold at the door to the community room bathroom
                      exceeds ½ inch;

              c.      There are two rows of mail boxes higher than 54 inches above the finished
                      floor;

              d.      In 50 units, the height of the thresholds at the unit entrances exceeds ½
                      inch;

              e.      In 50 units, the height of the thresholds at entrances to in-unit bathrooms
                      exceeds ½ inch;

              f.      In 50 units, there are less than 40 inches of distance between the
                      refrigerator and the opposite cabinet;

              g.      In all or nearly all units, there is less than 30 by 48 inch clear floor space
                      for a parallel approach to the kitchen sinks and kitchen ranges;

              h.      In all or nearly all units, the space between the side wall and the edge of
                      the bathroom vanity are less than 33 inches;

              i.      In all or nearly all units, there is less than 30 by 48 inch clear floor space
                      in bathrooms beyond the swinging doors;

              j.      In all or nearly all units, the operable part of the intercom is greater than
                      48 inches above the finished floor;

              k.      The community room bathroom lacks toilet grab bars; and

              l.      The operable part of the refill machine in the laundry room is located more
                      than 54 inches above the finished floor.




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        E.      Buildings That Atlantic Designed and Constructed Using Architect E

        22.     From in or about 2011 to in or about 2013, Atlantic designed and constructed two

rental apartment buildings – 25 State Street and 70 Bruckner Boulevard in the Bronx – using an

architectural firm based in Cortland, New York (“Architect E”). There are inaccessible

conditions in violation of the FHA’s accessibility requirements throughout both rental buildings.

As the examples below at 25 State Street show, these inaccessible conditions include, inter alia,

entrance thresholds that are excessively high, kitchens that lack sufficient clear floor space for

maneuvering, common use bathrooms that lack toilet grab bars or sink pipe insulation, and

mailboxes that are located too high above the finished floor.

        23.     25 State Street, which Atlantic completed in 2013, contains 50 rental units as well

as public and common use areas such as a mailbox area, a roof terrace for residents, a laundry

room, and a community room. 25 State Street is inaccessible to persons with disabilities.

Specifically, Atlantic designed and constructed, among others, the following inaccessible

features at 25 State Street:

                a.      The slope of at the maneuvering area immediately outside the main
                        entrance is well above 2%;

                b.      There are steps on both the interior and exterior sides of the entrance to the
                        roof terrace for residents;

                c.      There are four rows of mailboxes located at higher than 54 inches above
                        the finished floor;

                d.      In 17 units, there is less than 30 by 48 inch clear floor space for a parallel
                        approach to the kitchen sinks;

                e.      In 17 units, the kitchen sink is higher than 36 inches above the finished
                        floor;

                f.      The community room bathrooms and the fitness room bathroom all lack
                        rear toilet grab bars;

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                 g.     The fitness center bathroom lacks pipe insulation for the sink;

                 h.     The route to the sink in the laundry room is less than 36 inches wide;

                 i.     The laundry room lacks 30 by 48 inch clear floor space for a forward
                        approach to the sink;

                 j.     In the laundry room, the work surface of the folding table is more than 34
                        inches above the finished floor; and

                 k.     On all floors, fire extinguishers protrude into the accessible route with
                        leading edges located more than 27 inches above the finished floor.

         DEFENDANTS’ PATTERN OR PRACTICE OF NON-COMPLIANCE WITH THE FHA

        24.      As enumerated above, several types of inaccessible conditions — such as

excessively high thresholds at the entrances to public and common use areas, lack of toilet grab

bars and sink pipe insulations in common use area bathrooms, excessively high thresholds at unit

entrances, in-unit bathrooms, or in-unit terraces, and lack of sufficient clear floor space in

kitchens and bathrooms — recur repeatedly at the eight Sample Properties.

        25.      In light of the inaccessible conditions identified in paragraphs 11 through 23

above, defendants Atlantic and Fine also failed to comply with applicable State and local design

and construction provisions, such as New York City Local Law 58 of 1987 and Local Law 11 of

2008, in designing and constructing the 68 rental apartment buildings at issue.

        26.      The recurrence of these inaccessible conditions at these rental apartment buildings

resulted from a pattern or practice on Atlantic’s and Fine’s part of not complying with the FHA’s

accessibility requirements when it designed and constructed covered multi-family dwellings.

        27.      Redressing the effects of Atlantic’s and Fine’s pattern or practice of non-

compliance with the FHA requires retrofits at all 68 of the rental apartment buildings at issue in

this action.




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                                  FAIR HOUSING ACT CLAIMS

       28.     The United States re-alleges and incorporates by reference the allegations set

forth in paragraphs 1–27 above.

       29.     Defendants Atlantic and Fine violated 42 U.S.C. § 3604(f)(3)(C), as well as 24

C.F.R. § 100.205(c), by failing to design and construct rental apartment buildings, including each

of the Sample Properties, in such a manner that:

               a. the public use and common use portions of the dwellings are readily
                  accessible to and usable by persons with disabilities;

               b. all doors designed to allow passage into and within the dwellings are
                  sufficiently wide to allow passage by persons who use wheelchairs for
                  mobility; and

               c. all premises within such dwellings contain the following features of adaptive
                  design:

                      i)      an accessible route into and through the dwelling;

                      ii)     light switches, electrical outlets, thermostats, and/or other
                              environmental controls in accessible locations; and

                      iii)    usable kitchens and bathrooms, such that an individual using a
                              wheelchair can maneuver about the space.

       30.     Defendants Atlantic and Fine, through the actions and conduct referred to in the

preceding paragraphs, has:

               a. Discriminated in the sale or rental of, or otherwise made unavailable or
                  denied, dwellings to buyers or renters because of a disability, in violation of
                  42 U.S.C. § 3604(f)(1) and 24 C.F.R. § 100.202(a);

               b. Discriminated against persons in the terms, conditions, or privileges of the
                  sale or rental of a dwelling, or in the provision of services or facilities in
                  connection with a dwelling, because of a disability, in violation of 42 U.S.C. §
                  3604(f)(2) and 24 C.F.R. § 100.202(b); and


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                 c. Failed to design and construct dwellings in compliance with the accessibility
                    and adaptability features mandated by 42 U.S.C. § 3604(f)(3)(C), and 24
                    C.F.R. § 100.205.

       31.       The conduct of defendants Atlantic and Fine described above constitutes:

                 a. A pattern or practice of resistance to the full enjoyment of rights granted by
                    the Fair Housing Act, 42 U.S.C. §§ 3601-3619; and/or

                 d. A denial to a group of persons of rights granted by the Act, 42 U.S.C. §§
                    3601-3619, which denial raises an issue of general public importance.

       32.       Persons who may have been the victims of defendants Atlantic’s and Fine’s

discriminatory housing practices are aggrieved persons under 42 U.S.C. § 3602(i), and may have

suffered injuries as a result of defendants’ conduct described above.

       33.       Defendants Atlantic’s and Fine’s discriminatory actions and conduct described

above were intentional, willful, and taken in disregard for the rights of others.

                                          Prayer for Relief

       WHEREFORE, the United States prays that the Court enter an order that:

       a. Declares that the policies and practices of defendants Atlantic and Fine, as

alleged herein, violate the Fair Housing Act;

       b. Enjoins defendants Atlantic and Fine and their employees, agents, officers,

successors, and all other persons in active concert or participation with any of them, from:

          i.     Failing or refusing to bring the dwelling units and public use and common use
                 areas at the Sample Properties and at other covered multifamily housing
                 complexes that they have designed and constructed into compliance with 42
                 U.S.C. § 3604(f)(3)(C), and 24 C.F.R. § 100.205;

         ii.     Failing or refusing to take such affirmative steps as may be necessary to restore,
                 as nearly as practicable, persons harmed by their unlawful practices to the
                 position they would have been in but for the discriminatory conduct;


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           iii.     Designing and/or constructing any covered multifamily dwellings in the future
                    that do not contain the accessibility and adaptability features required by 42
                    U.S.C. § 3604(f)(3)(C), and 24 C.F.R. § 100.205; and

           iv.      Failing or refusing to conduct a compliance survey at the Sample Properties and
                    at other covered multifamily housing complexes that they have designed and
                    constructed to determine whether the retrofits ordered in sub-paragraph (i) above
                    were made properly; and

       c. Awards appropriate monetary damages, pursuant to 42 U.S.C. § 3614(d)(1)(B), to

each person harmed by defendants Atlantic’s and Fine’s discriminatory conduct and practices.

              The Government further prays for such additional relief as the interests of justice may

require.

                                                  WILLIAM P. BARR
                                                  Attorney General of the United States

                                                  ERIC S. DREIBAND
                                                  Assistant Attorney General
                                                  Civil Rights Division


       Date: New York, New York
             October 16, 2019                     GEOFFREY S. BERMAN
                                                  United States Attorney
                                                  Southern District of New York

                                               By: _______/s/ Li Yu______________________
                                                  LI YU
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                                                  NATASHA W. TELEANU
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                                            Appendix 1

Company                  Architect              Building Address              County        Completion
                                                                                            Date


Atlantic Development     Architect D            3121 Villa Avenue             Bronx         12/07

Atlantic Development     Architect D            1926 Crotona Parkway          Bronx         12/08

Atlantic Development     Architect D            550 East 170 Street           Bronx         12/08

Atlantic Development     Architect D            922 East 169th Street         Bronx         10/09

Atlantic Development     Architect D            1140 Tiffany Street           Bronx         12/09

Atlantic Development     Architect F            203 Gramatan Avenue           Westchester   Under
                                                                                            Construction
Atlantic Development     Architect C            521 West 42nd Street          New York      04/06

Atlantic Development     Architect C            1115 First Avenue             New York      10/06

Atlantic Development     Architect C            1 East 35th Street            New York      01/07

Atlantic Development     Architect C            250 East 60th Street          New York      10/07

Atlantic Development     Architect C            385 Third Avenue              New York      12/07

Atlantic Development     Architect C            303 Tenth Avenue              New York      9/10

Atlantic Development     Architect B            881 East 162 Street           Bronx         07/06

Atlantic Development     Architect B            508 East 161 Street           Bronx         08/10

Atlantic Development     Architect B            128 – East Clark Place        Bronx         03/05

Atlantic Development     Architect B            962 Aldus Street              Bronx         03/06

Atlantic Development     Architect B            941 Hoe Avenue                Bronx         04/06

Atlantic Development     Architect B            4646 Park Avenue              Bronx         07/06

Atlantic Development     Architect B            861 East 163rd Street         Bronx         10/06

Atlantic Development     Architect B            1904 Vyse Avenue              Bronx         11/06

Atlantic Development     Architect B            1471 Louis Nine Boulevard     Bronx         11/06

Atlantic Development     Architect B            33 West Tremont               Bronx         01/07

Atlantic Development     Architect B            1345 Shakespeare Avenue       Bronx         06/07

Atlantic Development     Architect B            270 East Burnside             Bronx         10/07
                                                Avenue
Atlantic Development     Architect B            2277 Barthgate Avenue         Bronx         07/08

Atlantic Development     Architect B            1530 Jesup Avenue             Bronx         07/08

Atlantic Development     Architect B            508 East 163 Street Boricua A2 Bronx        4/10
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Atlantic Development     Architect B            1382 Shakespeare Avenue        Bronx      08/10

Atlantic Development     Architect B            505 East 161st Street Boricua E Bronx     08/10

Atlantic Development     Architect B            488 East 163 Street Boricua A1 Bronx      08/10

Atlantic Development     Architect B            3213 Third Avenue Boricua C Bronx         09/10

Atlantic Development     Architect B            514 East 163 Street Boricua B Bronx       10/10

Atlantic Development     Architect B            80 Bruckner Blvd Bruckner A    Bronx      12/10

Atlantic Development     Architect B            105 Willis Avenue Bruckner B Bronx        12/10

Atlantic Development     Architect B            507 East 161st Street Boricua Bronx       02/11
                                                D
Atlantic Development     Architect B            501 East 161st Street Boricua F Bronx     06/11

Atlantic Development     Architect B            331 East 132nd Street          Bronx      08/11
                                                Bruckner C
Atlantic Development     Architect A            1118 Intervale Avenue          Bronx      07/00

Atlantic Development     Architect A            1150 Intervale Avenue          Bronx      04/01

Atlantic Development     Architect A            2035 Marmion Avenue            Bronx      01/02

Atlantic Development     Architect A            2333 Webster Avenue            Bronx      03/02

Atlantic Development     Architect A            900 Ogden Avenue               Bronx      06/02
Atlantic Development     Architect A            1314 Merriam Avenue            Bronx      10/02

Atlantic Development     Architect A            678 Sagamore Street            Bronx      12/02

Atlantic Development     Architect A            246 East 77th Street           New York   12/02

Atlantic Development     Architect A            1975 Birchall Avenue           Bronx      07/03

Atlantic Development     Architect A            1314 Nelson Avenue             Bronx      10/03

Atlantic Development     Architect A            2080 LaFontaine Avenue         Bronx      01/04

Atlantic Development     Architect A            1491 Macombs Avenue            Bronx      04/04

Atlantic Development     Architect A            1240 Washington Avenue         Bronx      08/04

Atlantic Development     Architect A            2087 Creston Avenue            Bronx      11/04

Atlantic Development     Architect A            600 Concord Avenue             Bronx      04/05

Atlantic Development     Architect A            1001 University Avenue         Bronx      06/05

Atlantic Development     Architect A            3880 Orloff Avenue             Bronx      07/05

Atlantic Development     Architect A            400 Third Avenue               New York   11/05

Atlantic Development     Architect A            417 East 76th Street           New York   03/06

Atlantic Development     Architect A            415 East 157th Street          Bronx      03/06
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Atlantic Development     Architect A            404 East 158th Street   Bronx         03/06

Atlantic Development     Architect A            438 East 76th Street    New York      03/06

Atlantic Development     Architect A            303 East 158th Street   Bronx         06/06

Atlantic Development     Architect A            320 East 159th Street   Bronx         12/06

Atlantic Development     Architect A            3000 Park Avenue        Bronx         04/07

Atlantic Development     Architect A            1404 Jesup Avenue       Bronx         05/07

Atlantic Development     Architect A            1401 Jesup Avenue       Bronx         08/07

Atlantic Development     Architect A            675 Morris Avenue       Bronx         09/07

Atlantic Development     Architect A            1450 Jesup Avenue       Bronx         10/07

Atlantic Development     Architect E            70 Bruckner Blvd.       Bronx         06/12

Atlantic Development     Architect E            25 State Street         Westchester   03/13
